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                                                                                                  E-FILED
                                                                     Monday, 19 July, 2021 09:27:38 AM
                                                                         Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION


SPIRE STL PIPELINE LLC,                           Cause No.: 3:18-cv-03204
A Missouri limited liability company,

       PLAINTIFF

        vs.

BETTY ANN JEFFERSON as TRUSTEE
of the BETTY ANN JEFFERSON TRUST
#11-08, et al., et al.

       DEFENDANTS




      DEFENDANTS’ JOINT MOTION FOR RELIEF FROM CONDEMNATION
      JUDGMENT UNDER FRCP 60(b)(5), DISSOLUTION OF PRELIMINARY
   INJUNCTION, DISMISSAL OF CONDEMNATION COMPLAINT, HEARING ON
          DAMAGES FOR TRESPASS AND STAY OF ALL DEADLINES

       COME NOW Defendants, landowners represented by and through undersigned counsel

Carolyn Elefant and Joshua Evans hereby move this Court for:

       1.     Relief from the order granting Plaintiff Spire Pipeline’s Motion for Condemnation

(Text Order dated December 7, 2018) under Fed. R. Civ. Proc. 60(b)(5) because the judgment

upon which the Condemnation Order is based -- specifically the Federal Energy Regulatory

Commission (FERC) Order Issuing Certificate1 -- was vacated by the United States Court of

Appeals for the District of Columbia on June 29, 2021 in Environmental Defense Fund v. FERC,

Docket No. 20-1016 (D.C. Circuit 2021);



       1
         Spire STL Pipeline, Order Issuing Certificate, 164 FERC ¶61,085 August 3, 2018),
Order on Rehearing, 169 FERC 61,134 (November 21, 2019).
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       2.      Dissolution of the Preliminary Injunction Injunction Granting Immediate

Possession (Doc. 114) based on changed circumstances arising out of the intervening D.C.

Circuit ruling vacating the certificate which deprives Spire of condemnation authority,

eviscerates Spire’s chances of success on the merits and converts the injunction into an

“instrument of wrong” (O'Sullivan v. City of Chicago, 396 F.3d 843, 860 (7th Cir. 2005)) that

will result in a taking of private property that does not serve a public use in violation Fifth

Amendment of the United States Constitution;

       3.      A hearing on damages resulting from the wrongful taking and project cancellation

-- including trespass, constitutional violations, full restoration costs; and

       4.      Dismissal of the Condemnation Complaint with prejudice.

       WHEREFORE, Defendant-Landowners respectfully request that the Court grant this

motion and the relief requested herein. A memorandum in support of this motion has been filed.

In addition, Defendants ask this court to stay the compensation hearings and transfer of legal title

to Spire to preserve the status quo, prevent an unlawful taking of property and avoid interference

with the D.C. Circuit ruling.


Dated: July 16, 2021
                                               Respectfully submitted,
                                                /s/ Carolyn Elefant
                                               Carolyn Elefant, pro hac vice
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                                                Attorney for Defendant-Landowners


                                               /s/ Joshua R. Evans
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                                               GREAT RIVER INJURY LAW
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                                             office@jevanslegal.com




                                CERTIFICATE OF SERVICE

       I, Carolyn Elefant, certify that on this 19th day of July 2021 I caused the foregoing

Motion to be served by electronic mail through ECF on all appearing parties.



                                                     /s/ Carolyn Elefant
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